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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION


CESAR GALLARDO,
individuals on behalf of himself and
others similarly situated,
                                                      No. 1:16-cv-01055
               Plaintiffs,

v.


LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                      JURY DEMAND
                                                      FLSA COLLECTIVE ACTION
               Defendants.




                                   JOINT STATUS REPORT

        Pursuant to the Court’s Order of September 26, 2017, (Dkt. 67), Plaintiff Cesar Gallardo,

on behalf of himself and others; and Defendants Los Portales Bolivar LLC, Los Portales

Henderson LLC, Tomas Leon, and Roy Salvador submit this Status Report to the Court. The

parties have successfully reached a settlement in this action. Counsel for Plaintiffs are actively

engaged in the process of securing signatures from all of the Plaintiffs, pursuant to the terms of the

settlement agreement. When that process is complete, the parties will notify the Court and file an

appropriate motion voluntarily dismissing this action.
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      Respectfully submitted this 26th day of September 2017.

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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
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CESAR GALLARDO,
individually on behalf of himself and
others similarly situated,
                                                 No. 1:16-cv-01055
              Plaintiffs,

       v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                 JURY DEMAND
                                                 FLSA COLLECTIVE ACTION
              Defendants.


                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of JOINT STATUS REPORT was sent via electronic
notice through the Court’s ECF system on this 26th day of September, 2017, to the following:

                                       Emily S. Alcorn
                                       Clinton H. Scott
                            GILBERT MCWHERTER SCOTT BOBBITT, PLC



                                                 /s/ J. Larry Stine
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